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                    Exhibit 3
       Case 1:14-cv-14176-ADB Document 546-3 Filed 09/17/18 Page 2 of 6
                         +LJKO\&RQILGHQWLDO$WWRUQH\V (\HV2QO\


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       Case 1:14-cv-14176-ADB Document 546-3 Filed 09/17/18 Page 3 of 6
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    '&DUG
    WKRVHRWKHUFRPSRQHQWV\RXZRXOGKDYH
    FRQVLGHUHGLWDSSURSULDWHWRH[FOXGHWKHP
    IURPWKHPRGHO"
    06(//6:257+2EMHFWWRWKH
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    )LW]VLPPRQVVWDWHGYHU\FOHDUO\
    WKDWUDFHZDVXVHGLQSDUWWR
   GHWHUPLQHWKHRYHUDOOUDWLQJEXW
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   RWKHUSURSURILOHUDWLQJV
   $QGVHYHUDORWKHURIWKH
   DGPLVVLRQVRIILFHUVFRQFXUUHGZLWK
   WKDWYHU\VWURQJO\RQGLUHFW
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    UHEXWWDOUHSRUWLWZDVYHU\FOHDUWKDW
    WKHUHZHUHDQXPEHURIGLVDJUHHPHQWV
    EHWZHHQ3URIHVVRU$UFLGLDFRQRDQGPHRQD
   FRXSOHRILVVXHV
   $QGVR,,ZDVDEOHWRDVN
                 $QGVR,,ZDVDEOHWRDVN
   'HDQ)LW]VLPPRQVGLUHFWO\LQDWHOHSKRQH
      'HDQ)LW]VLPPRQVGLUHFWO\LQDWHOHSKRQH
   FRQYHUVDWLRQLIUDFHZDVLQYROYHGLQWKH
      FRQYHUVDWLRQLIUDFHZDVLQYROYHGLQWKH
   SHUVRQDOUDWLQJIRUH[DPSOHDQGKHVDLG
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   PHDQVWRLQWHUDFWDYDULDEOHLQWKH
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    WKHSUHVHQFHRUDEVHQFHRIWKHVHFRQG
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   GLVDGYDQWDJHGVWDWXVLIWKHHIIHFWRI
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